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 9
10                             UNITED STATES DISTRICT COURT
11                                      DISTRICT OF NEVADA
12
13 R. ALEXANDER ACOSTA, Secretary of              Case No.: 2:18-cv-01185
   Labor, United States Department of Labor,
14
15               Petitioner,                      ORDER TO SHOW CAUSE
16                     v.
17   LOCAL 872, LABORERS
     INTERNATIONAL UNION OF
18   NORTH AMERICA,
19               Respondent.
20
21         Petitioner, R. Alexander Acosta, Secretary of Labor, United States Department of
22   Labor (the “Secretary”), has applied to this Court for an Order requiring Respondent
23   Local 872, Laborers International Union of North America (“Local 872”) to produce the
24   documents and records requested in the subpoena duces tecum issued by the Office of
25   Labor-Management Standards, U.S. Department of Labor (“OLMS”), and duly served
26   upon Local 872 on May 16, 2018 (the “Subpoena”) and to present Local 872 union
27   officials for interview by OLMS. Having considered the matters set forth in the
28   Secretary’s Petition and accompanying documents,
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 1         IT IS HEREBY ORDERED that Local 872 appears and SHOW CAUSE, if
 2   any there be, why it should not be ordered by this Court to comply with the
 3   Subpoena and to present Local 872 union officials for interview by OLMS.
 4         IT IS FURTHER ORDERED that Local 872 serve and file with the Clerk of
 5   this Court, no later than August 16, 2018, a response to the Secretary’s Petition,
 6   specifically admitting or denying each allegation of the Petition, and setting forth the
 7   cause, if any there be, why the Petition should not be granted.
 8         IT IS FURTHER ORDERED that the Secretary serve and file with the Clerk of
 9   this Court, no later than August 23, 2018, his reply to Local 872’s response to the
10   Secretary’s Petition.
11         IT IS FURTHER ORDERED that Local 872 appears at a hearing to be held on
12   the Petition on Septemeber 4, 2018, at 9:30 a.m., in courtroom 3C, located in Las
13   Vegas, Nevada.
14         IT IS FURTHER ORDERED that the applicable 60-day statute of limitations
15   under Section 402 of the LMRDA, 29 U.S.C. § 482, is tolled as of May 16, 2018, the
16   date Local 872 was served with the Subpoena, until the Secretary notifies the Court
17   that Local 872 has complied with the Subpoena.
18         IT IS FURTHER ORDERED that the Secretary shall forthwith serve a copy of
19   this Order to Show Cause and the Petition and supporting documents on Local 872 in
20   accordance with Rule 4 of the Federal Rules of Civil Procedure.
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23                                          ________________________________________
                                              UNITED STATES MAGISTRATE JUDGE
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25                                             DATED: August 2, 2018
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